
PER CURIAM.
By petition for writ of certiorari we have for review an order of the Florida Industrial Commission bearing date June 13, 1968.
We find that oral argument would serve no useful purpose and it is therefore dis*484pensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, records and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition for certiorari is therefore denied. Attorney’s fee in the amount of $250.00 is awarded to respondent-claimant’s attorney.
It is so ordered.
ROBERTS, Acting C. J., and DREW, THORNAL, ERVIN and HOPPING, JJ., concur.
